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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                 )
 RYAN NOAH SHAPIRO,                              )
                                                 )
                        Plaintiff,               )          Civil Action No. 16-CV-1263 (RBW)
                                                 )
         v.                                      )
                                                 )
 DEPARTMENT OF JUSTICE,                          )
                                                 )
                        Defendant.               )
                                                 )

                  ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

       Defendant United States Department of Justice (“Defendant”) hereby answers Plaintiff’s

Amended Complaint (“Amended Complaint”), ECF No. 10, as follows:

                                           THE PARTIES

       1.      Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 1.

       2.      Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 2.

       3.      Defendant admits the allegation in paragraph 3.

       4.      Defendant admits the allegation in paragraph 4.

       5.      Defendant admits the allegation in paragraph 5.

       6.      Defendant admits the allegations in paragraph 6.

                                     JURISDICTION AND VENUE

       7.      This paragraph contains Plaintiff’s characterization of this action to which no

response is required.
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       8.      Paragraph 8 contains conclusions of law as to which no response is required. To

the extent a response is required, Defendant denies the allegations in this paragraph.

       9.      Paragraph 9 contains a conclusion of law as to which no response is required. To

the extent a response is required, Defendant denies the allegations in this paragraph.

                                    STATEMENT OF FACTS

                                         BACKGROUND

       10.     Defendant admits that Plaintiff requested specific domestic terrorism records

(66F-HQ-1328110, 66-HQ-1328100), and related records (66-00, 66F-00), and that Plaintiff

made the requests in 2012. Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in this paragraph.

       11.     Defendant denies the allegations in paragraph 11.

       12.     Defendant denies the allegations in paragraph 12.

       13.     Defendant admits that Plaintiff filed additional Freedom of Information Act

(“FOIA”) requests for records about how the FBI processed the underlying requests, and policy

and training records on fee-related FOIA issues, and that the Office of Information Policy

(“OIP”) adjudicates administrative appeals from denials of access to records made by United

States Department of Justice components under the FOIA. Defendant lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in this

paragraph.

                                PLAINITFF’S FOIA REQUESTS

       14.     Defendant admits the allegations in paragraph 14.

       15.     Defendant admits that, on August 31, 2014, Plaintiff administratively appealed

the FBI’s response to the search, that OIP assigned the appeal tracking number AP-2014-04465,




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and that OIP provided a letter dated January 8, 2015. The correspondence referenced in this

paragraph speak for themselves and are the best evidence of their contents. Defendant

respectfully refers the Court to those documents for a full and accurate statement of their

contents. The last sentence of paragraph 15 contains a conclusion of law as to which no

response is required; to the extent that a response is required, Defendant denies.

       16.     Defendant admits that, on or about July 21, 2015, Plaintiff submitted an additional

request, and that the FBI responded to that request in a letter dated July 29, 2015. The

correspondence referenced in this paragraph speak for themselves and are the best evidence of

their contents. Defendant respectfully refers the Court to those documents for a full and

accurate statement of their contents.

       17.     Defendant admits that Plaintiff submitted an appeal of the denial of news media

fee category request. The correspondence referenced in this paragraph speak for themselves and

are the best evidence of their contents. Defendant respectfully refers the Court to those

documents for a full and accurate statement of their contents. The fourth sentence of this

paragraph contains conclusions of law as to which no response is required; to the extent a

response is required, Defendant denies.

       18.     Defendant admits the allegations in paragraph 18.

       19.     Defendant admits the allegations in paragraph 19.

       20.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 20, except admits that Plaintiff submitted an appeal and that

OIP assigned that appeal a tracking number. Defendant denies that the FBI’s search was

inadequate.

       21.     Defendant denies the allegations in paragraph 21.




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       22.     Paragraph 22 contains conclusions of law as to which no response is required; to

the extent a response is required, Defendant denies.

       23.     Defendant admits that Plaintiff submitted a FOIA request for FBI records related

to files 66-00 and 66F-00, that the request was assigned a tracking number 1350391-00, and that

Plaintiff requested a fee waiver.

       24.     Paragraph 24 is blank, and thus no response is required.

       25.     Defendant admits that it sent a letter dated July 21, 2016 stating Plaintiff had not

submitted a valid request. Defendant denies the remaining allegations in this paragraph, except

admits that it would take 1,035,898 hours to complete processing for this request.

       26.     Defendant denies that it received an email dated July 26, 2016 requesting to speak

with a negotiator about the possibility of narrowing the request.

       27.     Defendant denies it never responded to an email dated July 26, 2016, as

Defendant does not have a record of receiving such an email from Plaintiff.

       28.     Defendant admits the allegations in paragraph 28.

       29.     Defendant admits the allegations in paragraph 29.

       30.     Defendant denies the allegations in the first sentence in paragraph 30. On

September 7, 2016, OIP issued a final response to Plaintiff’s administrative appeal assigned

tracking number DOJ-AP-2016-004577 affirming the FBI’s actions on that request. The second

sentence in paragraph 30 contains conclusions of law as to which no response is required; to the

extent a response is required, Defendant denies.

       31.     Defendant admits Plaintiff submitted a request for FBI’s policy and training

material related to determining which FOIA requestors qualify for treatment as a member of the

news media for fee purposes, and that the portion of this request was assigned tracking number




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1310257-00. The last sentence in paragraph 31 contains conclusions of law as to which no

response is required; to the extent a response is required, Defendant denies.

       32.     Defendant admits on May 2, 2016, Plaintiff submitted a FOIA request to the FBI

for records related to discussions of the processing of certain FOIA requests, including the

processing of the fee waiver and fee category status of the requests, and that this request was

assigned tracking number 1350753-00. The last sentence in paragraph 32 contains conclusions

of law as to which no response is required; to the extent a response is required, Defendant denies.

       33.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in the first sentence in paragraph 33, except admits that on May 2, 2016

Plaintiff submitted a FOIA request to the FBI for records related to Sparrow Media, and that this

request was assigned tracking number 1350828-00. The last sentence in paragraph 33 contains

conclusions of law as to which no response is required; to the extent a response is required,

Defendant denies.

       34.     Paragraph 34 purports to characterize certain correspondence, which speak for

themselves and are the best evidence of their contents. Defendant respectfully refers the Court

to those documents for a full and accurate statement of their contents.

       35.     Paragraph 35 purports to characterize certain correspondence, which speak for

themselves and are the best evidence of their contents. Defendant respectfully refers the Court

to those documents for a full and accurate statement of their contents.

       36.     Paragraph 36 purports to characterize certain correspondence, which speak for

themselves and are the best evidence of their contents. Defendant respectfully refers the Court

to those documents for a full and accurate statement of their contents.




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       37.      Defendant admits that it received three requests on May 3, 2016 submitted by

Plaintiff to OIP and that the first request was assigned tracking number DOJ-2016-002836, the

second request was assigned tracking number DOJ-2016-002915, and the third request was

assigned tracking numbers DOJ-2016-002918, DOJ-2016-002919, and DOJ-2016-002920. The

documents referenced in this paragraph speak for themselves and are the best evidence of their

contents. Defendant respectfully refers the Court to those documents for a full and accurate

statement of their contents.

       38.      Paragraph 38 contains conclusions of law as to which no response is required; to

the extent a response is required, Defendant denies.

       39.      Defendant admits that on May 25, 2016 it responded to the request submitted by

Plaintiff to OIP assigned tracking numbers DOJ-2016-002918, DOJ-2016-002919, and DOJ-

2016-002920; and that Plaintiff submitted an administrative appeal of OIP’s May 25, 2016

response and the appeal was assigned tracking numbers DOJ-AP-2016-003872, DOJ-AP-2016-

003875, and DOJ-AP-2016-003877 on June 21, 2016. The documents referenced in this

paragraph speak for themselves and are the best evidence of their contents. Defendant

respectfully refers the Court to those documents for a full and accurate statement of their

contents.

       40.      Defendant admits that it received a request on June 24, 2016 submitted by

Plaintiff to OIP and that the request was assigned tracking number DOJ-2016-003853. The June

24, 2016 request speaks for itself and is the best evidence of its contents. Defendant

respectfully refers the Court to that request for a full and accurate statement of its contents. The

last sentence of this paragraph contains conclusions of law as to which no response is required;

to the extent a response is required, Defendant denies.




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       41.     Defendant admits that it received a request on June 24, 2016 submitted by

Plaintiff to OIP and that the request was assigned tracking number DOJ-2016-003850. The June

24, 2016 request speaks for itself and is the best evidence of its contents. Defendant

respectfully refers the Court to that request for a full and accurate statement of its contents. The

last sentence of this paragraph contains conclusions of law as to which no response is required;

to the extent a response is required, Defendant denies.

       42.     Defendant admits that it received a request on May 3, 2016 submitted by Plaintiff

to OIP and that in a letter to Plaintiff dated June 14, 2016, OIP assigned the request tracking

number DOJ-2016-002915. The referenced correspondence speak for themselves and are the

best evidence of their contents. Defendant respectfully refers the Court to the referenced

correspondence for a full and accurate statement of their contents. The last sentence of this

paragraph contains conclusions of law as to which no response is required; to the extent a

response is required, Defendant denies.

                                  COUNT I:
               ALLEGED VIOLATION OF FOIA AS TO SPECIFIC REQUESTS

       43.     Defendants repeats and realleges each and every response heretofore made with

the same force and effect as if the same were set forth fully herein.

       44.     Defendant denies the allegations in paragraph 44.

       45.     Defendant denies the allegations in paragraph 45.

                                      PRAYER FOR RELIEF

       The remaining paragraphs of the Amended Complaint consist of Plaintiff’s prayer for

relief to which no response is required. Defendant denies that Plaintiff is entitled to the relief

requested or to any relief whatsoever.




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       Defendant hereby denies each and every allegation in the Amended Complaint not

expressly answered or qualified herein.

                                  AFFIRMATIVE DEFENSES

       Defendant reserves the right to amend, alter and supplement the defenses contained in

this Answer as the facts and circumstances giving rise to the Amended Complaint become

known to Defendant through the course of the litigation.

                                         FIRST DEFENSE

         The Amended Complaint fails to state a claim upon which relief can be granted.

                                       SECOND DEFENSE

       The Court lacks subject matter jurisdiction over the Amended Complaint because

Defendant has not improperly withheld information within the meaning of the FOIA.

                                        THIRD DEFENSE

       The FOIA requests that are the subject of this lawsuit implicate certain information that is

protected from disclosure by one or more statutory exemptions.

                                                ***

       Wherefore, Defendant prays that this Court dismiss the Amended Complaint with

prejudice, at Plaintiff’s cost, and that the Court grant such other and further relief as the Court

deems just and proper.




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Dated: December 12, 2016
                                         Respectfully submitted,

                                         CHANNING D. PHILLIPS, D.C. Bar # 415793
                                         United States Attorney for the District of Columbia

                                         DANIEL F. VAN HORN, D.C. Bar # 924092
                                         Chief, Civil Division

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